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                              UNITED STATES OF AMERICA
                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION




UNITED STATES OF AMERICA,           )
                                    )
                  Plaintiff,        )                 Case No. 1:07-cr-259
                                    )
v.                                  )                 Honorable Janet T. Neff
                                    )
LARON ANTINO BRAXTON,               )
                                    )
                  Defendant.        )
____________________________________)


                             REPORT AND RECOMMENDATION

                Pursuant to W.D. MICH . L.CR.R. 11.1, I conducted a plea hearing in the captioned

case on February 13, 2008, after receiving the written consent of defendant and all counsel. At the

hearing, defendant Laron Antino Braxton entered a plea of guilty to counts 1, 2 and 3 of the Second

Superseding Indictment charging him with armed credit union robbery (count 1), in violation of 18

U.S.C. § 2113(a), conspiracy to commit armed credit union robbery, in violation of 18 U.S.C. § 371,

and entering a credit union with intent to commit armed robbery, in violation of 18 U.S.C. § 2113(a).

On the basis of the record made at the hearing, I find that defendant is fully capable and competent

to enter an informed plea; that the plea is made knowingly and with full understanding of each of the

rights waived by defendant; that it is made voluntarily and free from any force, threats, or promises;

that the defendant understands the nature of the charge and penalties provided by law; and that the

plea has a sufficient basis in fact.
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                  I therefore recommend that defendant's plea of guilty to counts 1, 2 and 3 of the

Second Superseding Indictment be accepted and that the court adjudicate defendant guilty of the

charge. Acceptance of the plea, adjudication of guilt, and imposition of sentence are specifically

reserved for the district judge.

                  The Clerk is directed to procure a transcript of the plea hearing for review by the

District Judge.



Dated: February 13, 2008                        /s/ Joseph G. Scoville
                                                U.S. Magistrate Judge



                                       NOTICE TO PARTIES

                You have the right to de novo review of the foregoing findings by the district judge.
Any application for review must be in writing, must specify the portions of the findings or proceed-
ings objected to, and must be filed and served no later than ten days after the plea hearing. See W.D.
MICH . L.CR.R. 11.1(d). A failure to file timely objections may result in the waiver of any further
right to seek appellate review of the plea-taking procedure. See Thomas v. Arn, 474 U.S. 140 (1985);
Neuman v. Rivers, 125 F.3d 315, 322-23 (6th Cir.), cert. denied, 522 U.S. 1030 (1997); United States
v. Walters, 638 F.2d 947 (6th Cir. 1981).
